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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

IN IN RE SKANSKA USA
CIVIL SOUTHEAST INC. AND
SKANSKA USA, INC., AS
OWNERS OF THE BARGE KS               ADMIRALTY RULE 9(H)
5531 PRAYING FOR
EXONERATION FROM OR                  Case No.: 3:20cv5980/LAC/HTC
LIMITATION OF LIABILITY
___________________________________/

                                     ORDER

     It is now ORDERED:

     1.       The Motion for Continuance (Doc. 1279) filed by Skanska USA Civil

Southeast Inc. and Skanska USA, Inc., is GRANTED to the extent that the

commencement of trial in this case is hereby POSTPONED to a date to be later

determined.

     2.       In light of the continuance of trial, the pretrial hearing scheduled for

Thursday, September 2, 2021, is also POSTPONED to a date to be later

determined.

     ORDERED on this 1st day of September, 2021.

                                                 s/L.A. Collier
                                                 Lacey A. Collier
                                         Senior United States District Judge
